                                                                                                    Case 2:20-cv-00470-GMS Document 187 Filed 03/08/22 Page 1 of 2


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                                                                                                   Instagram, LLC and WhatsApp LLC
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                                                                                              15                      IN THE UNITED STATES DISTRICT COURT
                                                                                              16                            FOR THE DISTRICT OF ARIZONA
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                                                                                                   Meta Platforms, Inc., et al.,                    Case No. CV-20-00470-PHX-GMS
                                                                                              18
                                                                                                                    Plaintiffs,
                                                                                              19                                                    NOTICE OF SETTLEMENT
                                                                                                          v.
                                                                                              20
                                                                                                   Namecheap Incorporated, et al.,
                                                                                              21
                                                                                                                    Defendants.
                                                                                              22
                                                                                                   WhoisGuard, Inc.,
                                                                                              23
                                                                                                                    Counterclaimant,
                                                                                              24
                                                                                                          v.
                                                                                              25
                                                                                                   Meta Platforms, Inc.,
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                                                                                                                    Counterclaim Defendant.

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                                                                                               1          Pursuant to LRCiv 40.2(d), the parties hereby inform the Court and the Clerk of
                                                                                               2   the Court that the parties have voluntarily agreed to a settlement that will dispose of this
                                                                                               3   action. The parties are in the process of preparing a definitive, formal settlement
                                                                                               4   agreement and expect to have it completed within the next thirty days. The parties
                                                                                               5   presently anticipate that within thirty days they will either provide the Court with a
                                                                                               6   stipulation disposing of this action or a settlement status update.
                                                                                               7

                                                                                               8   DATED: March 8, 2022                         SNELL & WILMER L.L.P.
                                                                                               9                                                By: s/ David G. Barker
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                                                                                              19                                                Meta Platforms, Inc., Instagram, LLC, and
                                                                                              20                                                WhatsApp LLC

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